              Case 23-00005-dd                 Doc 3       Filed 01/02/23 Entered 01/02/23 09:26:18                             Desc Main
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Fill in this information to identify your case:
Debtor 1               Earlene Yvette Moses                                                                         Check if this is a modified plan, and
                          First Name      Middle Name                 Last Name                                     list below the sections of the plan that
                                                                                                                    have been changed.
Debtor 2
(Spouse, if filing) First Name      Middle Name            Last Name
United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                          Pre-confirmation modification
                                                                                                                    Post-confirmation modification
Case number:
(If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                   5/22

Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                        Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                        requested in this document.
                        4414
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                        confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                        applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                        objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                        3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                        interest from objecting to a claim.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                        will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                  Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included

1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                         Included                  Not Included
             through plan, set out in Section 3.1(c) and in Part 8

Part 2:       Plan Payments and Length of Plan

2.1          The debtor will pay the trustee as follows:

$299.00 per Month for 60 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court, unless otherwise ordered.

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment):
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   2.3 Income tax refunds.
       Check one.
                     The debtor will retain any income tax refunds received during the plan term.

                       The debtor will treat income refunds as follows:


   2.4 Additional payments.
       Check one.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

    Part 3:   Treatment of Secured Claims

   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
   provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
   filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1        Maintenance of payments and cure or waiver of default, if any.

              Check all that apply. Only relevant sections need to be reproduced.

                       None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                       3.1(a) The debtor is not in default and will maintain the contractual payments on the secured claims listed below, with any
                       changes required by the applicable contract and noticed in conformity with any applicable rules. These payments will be
                       disbursed directly by the debtor.

    Name of Creditor                                              Collateral

   Insert additional claims as needed.

                       3.1(b) The debtor is in default and will maintain the contractual payments on the secured claims listed below, with any changes
                       required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed
                       directly by the debtor. The arrearage payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee
                       shall pay the arrearage as stated in the creditor’s allowed claim or as otherwise ordered by the Court.

    Name of Creditor       Collateral                                                Estimated amount of         Interest rate on Monthly payment on
                                                                                     arrearage                   arrearage        arrearage
                                                                                                                 (if applicable)
    WELLESLEY
    COMMUNITY              DEBTORS RESIDENCE-204 BARTRAM
    ASSOCIATION            WAY, LEXINGTON SC 29072                                             $1,237.46                0.00%                        $21.00
                                                                                     Includes amounts                               (or more)
                                                                                     accrued through the
                                                                                     January 2023

Insert additional claims as needed.

                       3.1(c) The debtor will make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                       accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                       between this document and the Operating Order, the terms of the Operating Order control.

                       3.1(d) The debtor proposes to engage in loss mitigation efforts with    FREEDOM MORTGAGE                 according to the
                       applicable guidelines or procedures of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if
                       applicable.
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                    Insert additional claims as needed
                    3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                    Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                     Insert additional claims as needed

3.2        Request for valuation of security and modification of undersecured claims. Check one.

                    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

                    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

              Non-governmental claims. The debtor requests that the Court determine the amount of the secured claims listed below, as set out in the
column headed Amount of secured claim. Unless otherwise ordered by the Court, a proof of claim sets the total amount of a claim, but the plan
controls the amount of the secured claim, unless a lower secured claim amount is acknowledged in the proof of claim. The amount of the secured
claim will be paid in full with interest at the rate stated below. The portion of any allowed claim that exceeds the amount of the secured claim will be
treated as an unsecured claim under Part 5.

           Unless otherwise stated in Part 8.1, any applicable taxes and insurance related to the collateral shall be paid directly by the debtor.

Name of           Estimated        Collateral         Value of             Amount of claims Amount of secured Interest                  Estimated
creditor          amount of                           collateral           senior to creditor's claim         rate                      monthly
                  creditor's                                               claim                                                        payment to
                  total claim                                                                                                           creditor
                                                                                                                                        (disbursed by
                                                                                                                                        the trustee)




AUTOMO                             2014 BMW
NEY               $5,000.00        528i               $4,610.00                        $0.00              $4,610.00          5.25%                   $88.00
                                                                                                                                        (or more)




CAROLIN
A TITLE                            2010 BMW
LOAN              $6,000.00        528i               $2,250.00                        $0.00              $2,250.00          5.25%                   $43.00
                                                                                                                                        (or more)

Insert additional claims as needed.

               Governmental claims. The debtor’s proposed Amount of secured claim for purposes of estimating plan funding is listed below. After
the claim is filed or after the deadline to file a claim, the debtor will file either: (1) a motion to determine the amount of the secured claim, or (2) an
objection to the proof of claim. Unless otherwise ordered by the Court, the governmental unit’s secured claim amount listed in a proof of claim filed
in accordance with the Bankruptcy Rules controls over any contrary amount listed below. The amount of the secured claim will be paid in full with
interest at a rate stated below, with any priority amounts of the unsecured claim paid under Part 4, and any general unsecured amounts paid under
Part 5.

           Unless otherwise stated in Part 8.1, any applicable taxes and insurance related to the collateral shall be paid directly by the debtor.
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Name of            Estimated       Collateral         Value of             Amount of claims Amount of secured Interest                  Estimated
creditor           amount of                          collateral           senior to creditor's claim         rate                      monthly
                   creditor's                                              claim                                                        payment to
                   total claim                                                                                                          creditor
                                                                                                                                        (disbursed by
                                                                                                                                        the trustee)




-NONE-
                                                                                                                                        (or more)

Insert additional claims as needed.


 3.3       Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

      Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4        Lien avoidance.

Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                     The Debtor(s) state that the judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed
                     below impair exemptions to which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by
                     the Court, a judicial lien or security interest securing a claim listed below will be avoided to the extent that it impairs such
                     exemptions upon entry of an order, whether included in the order confirming the plan or otherwise avoiding liens or security
                     interests. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5.1 to
                     the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid as a secured claim
                     under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the
                     information separately for each lien.

                     Choose the appropriate form for lien avoidance

Name of            Estimated       Total of all    Applicable              Value of debtor's    Amount of lien not Amount of lien avoided
creditor and       amount of       senior/unavoida Exemption and           interest in property avoided (to be paid
description        lien            ble liens       Code Section                                 in 3.2 above)
of property
securing lien
-NONE-



                     Use this form for avoidance of liens on co-owned property only.

Name of            Total equity    Debtor’s equity Applicable              Non-exempt equity Estimated lien               Amount of Amount of lien
creditor and       (value of       (Total equity   Exemption and           (Debtor's equity                               lien not   avoided
description        debtor's        multiplied by   Code Section            less exemption)                                avoided(to
of property        property less   debtor’s                                                                               be paid in
securing lien      senior/unavoi   proportional                                                                           3.2 above)
                   dable liens)    interest in
                                   property)
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Name of            Total equity    Debtor’s equity Applicable            Non-exempt equity Estimated lien             Amount of Amount of lien
creditor and       (value of       (Total equity   Exemption and         (Debtor's equity                             lien not   avoided
description        debtor's        multiplied by   Code Section          less exemption)                              avoided(to
of property        property less   debtor’s                                                                           be paid in
securing lien      senior/unavoi   proportional                                                                       3.2 above)
                   dable liens)    interest in
                                   property)
CACH,
LLC

DEBTOR
S
RESIDEN
CE-204
BARTRA                                                   60,400.00
M WAY,                                                  S.C. Code
LEXINGT                                                     Ann. §
ON SC              $25,000.0                         15-41-30(A)(1
29072                      0       $12,500.00                  )(a)                  $0.00             $3,387.10          $0.00                 100%
LVNV
FUNDING

DEBTOR
S
RESIDEN
CE-204
BARTRA                                                   60,400.00
M WAY,                                                  S.C. Code
LEXINGT                                                     Ann. §
ON SC              $25,000.0                         15-41-30(A)(1
29072                      0       $12,500.00                  )(a)                  $0.00             $3,366.43          $0.00                 100%
REPUBLI
C
FINANCE

 DEBTOR
 S
 RESIDEN
 CE-204
 BARTRA                                                  60,400.00
 M WAY,                                                 S.C. Code
 LEXINGT                                                    Ann. §
 ON SC             $25,000.0                         15-41-30(A)(1
 29072                      0     $12,500.00                   )(a)                  $0.00             $4,670.97          $0.00                 100%
Insert additional claims as needed.

 3.5       Surrender of collateral.

      Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:     Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2        Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3        Attorney's fees.

           a.        The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                     statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
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                      disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                      disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                      balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                      each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                      instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                      entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                      payments to creditors.

          b.          If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                      applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                      in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                      received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4       Priority claims other than attorney’s fees and those treated in § 4.5.



          The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
          pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further modification of the plan.

          Check box below if there is a Domestic Support Obligation.


                      Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                      a.        Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to          (state
                                name of DSO recipient), at the rate of $         or more per month until the balance, without interest, is paid in full.
                                Add additional creditors as needed.

                      b.        The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                directly to the creditor.

                      c.        Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                order or a statute.

4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

          Check one.
                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



Part 5:   Treatment of Nonpriority Unsecured Claims

5.1       Nonpriority unsecured claims not separately classified. Check one

          Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
          available after payment of all other allowed claims.

               The debtor estimates payments of less than 100% of claims.
               The debtor proposes payment of 100% of claims.
               The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                      None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3       Other separately classified nonpriority unsecured claims. Check one.

                      None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:   Executory Contracts and Unexpired Leases
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6.1         The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
            contracts and unexpired leases are rejected. Check one.

                      None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:     Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

            Upon confirmation of the plan, property of the estate will remain property of the estate, but possession and use of property of the estate
            shall remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the
            estate. The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor.

            Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
            only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

Part 8:     Nonstandard Plan Provisions

8.1         Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

                      3.1(d) - Debtor(s) will seek loss mitigation/mortgage modification on the mortgage loan secured by
                      FREEDOM MORTGAGE for residence located at DEBTORS RESIDENCE-204 BARTRAM WAY, LEXINGTON
                      SC 29072. No payment will be made by the Trustee on this secured claim. If a loan modification request is
                      not approved within 120 days of the entry of an order lifting the stay to allow loss mitigation, then the stay
                      may be lifted on FREEDOM MORTGAGE for residence located at DEBTORS RESIDENCE-204 BARTRAM
                      WAY, LEXINGTON SC 29072 and the creditor may send any required notice to Debtor(s) and proceed with its
                      remedies against the collateral.

Part 9:     Signatures:

9.1         Signatures of debtor and debtor attorney

            The debtor and the attorney for the debtor, if any, must sign below.

X       /s/ Earlene Yvette Moses                                          X
        Earlene Yvette Moses                                                     Signature of Debtor 2
        Signature of Debtor 1

        Executed on     January 2, 2023                                          Executed on

X       /s/ JASON T. MOSS                                                 Date     January 2, 2023
        JASON T. MOSS 7240
        Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.
